        Case 5:19-cv-00113-SLP Document 388 Filed 10/18/21 Page 1 of 4




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

PATRICIA THOMPSON, as Personal                )
Representative of the Estate of               )
MARCONIA LYNN KESSEE,                         )
                                              )
              Plaintiff,                      )
vs.                                           )         Case No. CIV-19-113
                                              )         Honorable Scott L. Palk
BOARD OF COUNTY                               )
COMMISSIONERS FOR CLEVELAND                   )
COUNTY, an Oklahoma Political                 )
Subdivision, et al.,                          )
                                              )
              Defendants.                     )

        Joint Stipulation of Dismissal of Norman Regional Hospital Authority

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the Parties hereby stipulate to the

dismissal of this action with prejudice to re-filing, only as it relates to Plaintiff’s claims

against Defendant Norman Regional Hospital Authority in the above-styled action. Each

party shall be responsible for their own attorney fees and costs.

       This Stipulation of Dismissal does not affect any other claim or party to this action.

                                           Respectfully submitted,

                                           s/ Jason M. Hicks (signed with permission)
                                           Chris J. Hammons
                                           Jason M. Hicks
                                           Jonathan R. Ortwein
                                           LAIRD, HAMMONS, LAIRD, P.L.L.C.
                                           1332 SW 89th Street
                                           Oklahoma City, Oklahoma 73159
                                           Telephone: (405) 703-4567
                                           Facsimile: (405) 703-4061

                                           Attorneys for Plaintiff
Case 5:19-cv-00113-SLP Document 388 Filed 10/18/21 Page 2 of 4




                            s/Robert D. Hoisington
                            Glen D. Huff-OBA# 4449
                            Robert D. Hoisington-OBA# 15090
                            FOLIART, HUFF, OTTAWAY & BOTTOM
                            201 Robert S. Kerr Avenue, 12th Floor
                            Oklahoma City, Oklahoma 73102
                            Telephone: (405) 232-4633
                            Fax: (405) 232-3462
                            glenhuff@oklahomacounsel.com
                            roberthoisington@oklahomacounsel.com


                            ATTORNEYS FOR DEFENDANT
                            NORMAN REGIONAL HOSPITAL
                            AUTHORITY




                            s/ Jessica L. Dark (signed with permission)
                            Randall J. Wood, OBA No. 10531
                            Robert S. Lafferrandre, OBA No. 11897
                            Jessica L. Dark, OBA No. 31236
                            PIERCE COUCH HENDRICKSON
                            BAYSINGER & GREEN, L.L.P.
                            1109 North Francis Avenue
                            Oklahoma City, Oklahoma 73106
                            Telephone:(405) 235-1611
                            Facsimile: (405) 235-2904

                            Attorneys for Defendants, Amason, Gibson,
                            Andrews, Barr, and Shifflett




                              2
Case 5:19-cv-00113-SLP Document 388 Filed 10/18/21 Page 3 of 4




                            s/ Austin J. Young (signed with permission)
                            Sean P. Snider
                            Austin J. Young
                            Anthony C. Winter
                            JOHNSON, HANAN VOSLER
                            HAWTHORNE & SNIDER
                            9801 North Broadway Extension
                            Oklahoma City, Oklahoma 73114
                            Telephone: (405) 232-6100
                            Facsimile: (405) 232-6105

                            Attorneys for Defendants, Turn Key Health
                            Clinics, LLC and Rickert



                            s/ Rickey J. Knighton, II
                            (signed with permission)
                            Rickey J. Knighton, II
                            Jeanne Snider
                            Assistant City Attorneys
                            City of Norman, Oklahoma
                            201 West Gray
                            Norman, Oklahoma 73069
                            Telephone: (405) 217-7700
                            Facsimile: (405) 366-5425

                            Attorneys for Defendants, City of Norman,
                            Humphrey, Canaan and Brown



                            s/ Stacey H. Felkner (Signed with permission)
                            Chris J. Collins
                            Stacey Haws Felkner
                            COLLINS, ZORN & WAGNER, P.C.
                            429 N.E. 50th Street, 2nd Floor
                            Oklahoma City, Oklahoma 73105
                            Telephone: (405) 524-2070
                            Facsimile: (405) 524-2078

                            Attorneys for Defendants Kyle Canaan and
                            Daniel Brown


                              3
        Case 5:19-cv-00113-SLP Document 388 Filed 10/18/21 Page 4 of 4




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of October, 2021, I electronically transmitted
the attached document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants:

 Chris Hammons                                   Sean P. Snider
 Jason M. Hicks                                  Austin J. Young
 LAIRD HAMMONS LAIRD, PLLC                       JOHNSON, HANAN AND VOSLER
 chris@lhllaw.com                                ssnider@johnsonhanan.com
 jason@lhllaw.com                                ayoung@johnsonhanan.com

 Attorneys for Plaintiff                         Attorney for Defendant Turn Key Health
                                                 Clinics, LLC, and Rickert

 Robert S. Lafferrandre                          CITY OF NORMAN, OKLAHOMA
 Randall J. Wood                                 KATHRYN WALKER, INTERIM CITY
 Jessica L. Dark                                 ATTORNEY
 PIERCE COUCH HENDRICKSON                        Rickey J. Knighton II, OBA No. 17257
 BAYSINGER & GREEN, LLP                          Jeanne Snider, OBA No. 19223
 Email: rlafferrandre@piercecouch.com            Assistant City Attorneys
 jdark@piercecouch.com                           Rick.knighton@ci.norman.ok.us
 rwood@piercecouch.com                           Jeanne.snider@ci.norman.ok.us
 Attorneys for Defendant Board of County
 Commissioners for Cleveland County,             Attorneys for City of Norman, Norman
 Cleveland County Sheriff's Office,              Police Department, Humphrey, Canaan,
 Gibson, Andrews, Knapp, Barr, Shifflett,        Brown
 and Scott
 Brandon Whitworth                               Chris J. Collins
 Eric S. Loggin                                  Stacey Haws Felkner
 RODOLF & TODD                                   COLLINS, ZORN & WAGNER, P.C.
 brandonw@rodolftodd.com                         429 N.E. 50th Street, 2nd Floor
 eloggin@rodolftodd.com                          Oklahoma City, Oklahoma 73105
 Attorneys for Defendants Emergency              CJC@czwlaw.com
 Services of Oklahoma, P.C. a Domestic           SHF@czwlaw.com
 Professional Corporation
                                                 Attorney for Defendants Kyle Canaan and
                                                 Daniel Brown


                                          s/Robert D. Hoisington




                                             4
